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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION


  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,

                  Plaintiffs,

          v.

  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN                                  CASE NO. 1:20-CV-484-LO-TCB
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,

                  Defendants.


       NOTICE OF HEARING AND PARTIAL WAIVER OF ORAL ARGUMENT ON
         PLAINTIFFS’ MOTION TO HOLD DEFENDANTS BRIAN WATSON &
                   WDC HOLDINGS LLC IN CIVIL CONTEMPT

                  PLEASE TAKE NOTICE that, pursuant to Local Civil Rule 7(E), Plaintiffs hereby

  waive oral argument on the immediate relief requested in their Motion To Hold Defendants Brian

  Watson & WDC Holdings LLC In Civil Contempt, namely: an order that preserves the status quo

  until full hearing and resolution of the motion by relying on the current record and September 10,

  2021, Rule 37 ruling to hold that Defendants are prohibited from engaging in personal or business

  transactions in excess of $10,000, and from initiating or settling any collateral asset litigation, until

  the Court hears and fully resolves this motion, including any appointment of a receiver. In the

  event the Court wishes to hear from the parties, or Defendants request a hearing on the foregoing
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  interim relief, Plaintiffs will make themselves available at the Court’s convenience on Friday,

  October 1.

         PLEASE TAKE FURTHER NOTICE that, on October 8, 2021, at 10:00 a.m., or as soon

  thereafter as the matter may be heard, counsel for Plaintiffs Amazon.com, Inc. and Amazon Data

  Services, Inc. will present argument before this Court on the remaining relief addressed in their

  Motion To Hold Defendants Brian Watson & WDC Holdings LLC In Civil Contempt.




  Dated: September 30, 2021            Respectfully submitted,

                                       s/ Michael R. Dziuban
                                       Elizabeth P. Papez (pro hac vice)
                                       Patrick F. Stokes (pro hac vice)
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                                       Michael R. Dziuban (Va. State Bar No. 89136)
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                                       Counsel for Plaintiffs Amazon.com, Inc. and Amazon Data
                                       Services, Inc.




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                                     CERTIFICATE OF SERVICE

           I hereby certify that on September 30, 2021, I will electronically file the foregoing with the

  Clerk of Court using the CM/ECF system. I will then send the document and a notification of such

  filing (NEF) to the following parties via U.S. mail to their last-known address and by email, where

  noted:



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  Villanova Trust
  c/o Christian Kirschner, Trustee                       Casey Kirschner
  3924 Wallace Lane                                      635 N. Alvarado Lane
  Nashville, TN 37215                                    Plymouth, MN 55447
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                                                  s/ Michael R. Dziuban
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                                                  Data Services, Inc.




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